       Case 1:24-cr-00082-RMB           Document 22         Filed 05/29/24          Page 1 of 1


                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     May 29, 2024
BY CM/ECF
Honorable Richard M. Berman
United States District Judge
Southern District of New York
New York, New York 10007

       Re:     United States v. Keonne Rodriguez, S2 24 Cr. 82 (RMB)

Dear Judge Berman:

        Please find enclosed for the Court’s consideration a proposed protective order in the above-
referenced matter. Courts have routinely relied on Rule 16(d)(1) to limit discovery in situations
where the disclosure of certain discovery beyond the defendant and his counsel could have harmful
consequences. See United States v. Aref, 533 F.3d 72, 78 (2d Cir. 2008) (protective order for
classified information); United States v. Smith, 985 F. Supp. 2d 506, 530-35 (S.D.N.Y. 2013)
(protective order for information that might impede ongoing investigations); United States v.
Figueras, 2009 WL 1364640, at *1-2 (W.D.N.Y. May 19, 2009) (protective order for identity of
confidential informants); United States v. Luchko, 2007 WL 1651139, at *7 (E.D. Pa. June 6, 2007)
(protective order entered because of, among other reasons, the personal privacy interests of third
parties). In this case, the Government anticipates that the discovery materials will include, among
other things: (1) evidence and law enforcement reports relating to an ongoing law enforcement
investigation; and (2) materials that affect the privacy and confidentiality of the victims and/or
witnesses, including personal identifying information and financial information. For this reason, the
Government believes that the enclosed narrowly tailored Protective Order is appropriate. The
enclosed Protective Order has already been executed by counsel for the defendant.

                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney

                                                  By: /s/ Andrew K. Chan
                                                    Andrew K. Chan / David R. Felton
                                                    Assistant United States Attorneys
                                                    Tel: (212) 637-1072 / 2299

cc: Counsel for Defendant Keonne Rodriguez
